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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

   ROBERT MARTIN and KRISTIN
   ARMSTRONG,

                          Plaintiffs,

   v.                                                           Case No: 6:14-cv-1290-Orl-31KRS

   GLOBAL MARKETING RESEARCH
   SERVICES, INC. and JOHN DOES 1-100,

                          Defendants.


                                                 ORDER
          This matter is before the Court on Plaintiffs’ Motion for Rule 11 sanctions (Doc. 61).

          On July 31, 2015, Defendant filed a Motion to Vacate (Doc. 54) this Court’s Order (Doc.

   47) which granted Plaintiffs’ unopposed Motion for Leave to Amend the Complaint (Doc. 45). In

   that Motion, Defendant contended that the Motion to Amend was “granted without any

   consideration of possible defense objections, thus denying Defendant an opportunity to be heard.”

   Doc. 54, ¶ 5. In its Motion to Vacate, Defendant also sought an award of sanctions against

   Plaintiffs’ counsel, contending that:

                 “Plaintiffs’ Motion is ‘stunning’ in its violation of clear prohibitions on disclosure
                  of confidential communications
                 “Plaintiffs’ counsel are masterminding vexatious litigation to harass Defendant in
                  bad faith; and
                 “Plaintiffs’ counsel have plainly thumbed their noses at the time-honored rules
                  prompting judicial economy while embarking on an inescapable, abusive, multi-
                  jurisdictional vendetta against Defendant . . . .” Doc. 54, ¶ 15.
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          Plaintiffs responded to Defendant’s Motion (Doc. 55) and on August 19, 2015, the Court

   denied the Motion to Vacate (Doc. 56).1

          On August 25, 2015, Plaintiffs filed its own Motion for Sanctions against Defendant (Doc.

   61), contending that Defendant’s Motion to Vacate and for Sanctions was itself sanctionable. On

   September 1, 2015, Defendant responded to Plaintiffs’ Motion (Doc. 63).

          Upon consideration of the above, the Court finds that Defendant’s Motion to Vacate was

   not frivolous or sanctionable under Rule 11. However, the Court would observe that Defendant’s

   Motion was unprofessional in at least two respects: (1) counsel’s attempt to mislead the Court

   into believing that it had not given Defendant an opportunity to be heard on the Plaintiffs’ Motion

   for Leave to Amend, when in fact Defendant had failed to file a timely objection; and (2) by the

   use of hyperbole in accusing Plaintiffs’ counsel of nefarious conduct. The Court expects

   Defendant’s counsel to refrain from such conduct in the future. It is, therefore

          ORDERED that Plaintiffs’ Motion for Sanctions (Doc. 61) is DENIED.

          DONE and ORDERED in Chambers, Orlando, Florida on September 11, 2015.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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               Denial of the Motion also resolved Defendant’s request for sanctions.



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